 

CaSe 2210-CV-14360-DPH-|\/|K|\/| ECF NO. 211 filed 01/27/15 Page|D.6967 Page 1 Of 1

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ASSOC|ATES LAW

FILED VIA ECF

lanuary 27, 2015

Re: The Shane Group et al. v. Blue Cross Blue Shield of Michigan, Eastern
District of Michigan Case No. 2:10-cv-14360

Dear Judge Hood:

On January 22, 2015, Christopher Andrews filed a 21-page pleading (Docket No.
209) entitled “Supplernent to Objection,” “Supplement to Sanction Motion,” and
.“Response to Class Counsel’s Opposition to Sanctions Motion.” He also filed
Docket No. 210 on January 26, 2015, Which is a 10-page brief entitled
“Supplement to Objection” and “Supplement to Sanction Motion.”

Plaintiffs Write to inform the Court that they `Will not be responding to Mr.
AndreWs’ latest submissions Mr. Andrews had no right to file supplements to his
objection or to his sanctions motion, so these papers must be considered a reply to
Docket No. 208, Class Counsel’s Opposition to Objector Christopher Andrews’
Motion for Sanctions. As a reply, Mr. Andrews’ 31 total pages are subject to this
Court’s seven-page limit, which they exceed by over fourfold.

If the Court requests a response to Mr. Andrews’ neWest false and frivolous
accusations about counsel, Plaintiffs can readily provide one. But, Plaintiffs Will
not burden the Court With additional filings unless requested to do so by the Court.

Please contact rne if you have any questions

Very truly yours,

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D§vid H. sink
Liaison Counsel for Class Plaintiffs

  

cc: Christopher AndreWs

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